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                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

  EON CORP. IP HOLDINGS, LLC,                    §
                                                 §
                                                 §
                       Plaintiff,
  v.                                             §
                                                 §
  T-MOBILE USA, INC., RESEARCH IN                §   Civil Action No. 6:10-cv-00379-LED
                                                 §
  MOTION CORPORATION, NOKIA INC.,
                                                 §
  BEST BUY CO., INC., WAL-MART
  STORES, INC., COSTCO WHOLESALE                 §   JURY TRIAL REQUESTED
                                                 §
  CORPORATION, OVERSTOCK.COM,
  INC., SEARS ROEBUCK AND CO.,                   §
  AMAZON.COM, INC., RADIOSHACK                   §
  CORPORATION, ALCATEL-LUCENT                    §
  USA INC., D-LINK SYSTEMS, INC.,                §
  INTELLINET TECHNOLOGIES, INC.,                 §
  ACME PACKET INC., JUNIPER                      §
  NETWORKS, INC., SAMSUNG                        §
  TELECOMMUNICATIONS AMERICA                     §
  LLC, and CELLCO PARTNERSHIP d/b/a              §
                                                 §
  VERIZON WIRELESS,
                                                 §
                       Defendants.               §

               PLAINTIFF EON CORP.IP HOLDINGS, LLC’S ANSWER TO
                  ALCATEL-LUCENT USA INC.’S COUNTERCLAIMS
                 TO PLAINTIFF’S FOURTH AMENDED COMPLAINT

         Plaintiff and counterclaim defendant EON Corp. IP Holdings, LLC (“Plaintiff” or

  “EON”), through undersigned counsel files this amended answer to defendant Alcatel-Lucent

  USA Inc.’s (“Defendant” or “Alcatel”) counterclaims (Doc. No. 413) as follows:

         1.      EON admits the allegation of Paragraph 107 that this Court has jurisdiction over

  the asserted counterclaims.

         2.      EON admits to Paragraph 108.

         3.      EON admits that it has submitted to personal jurisdiction in this Court in claims

  arising in this suit. EON denies the remaining allegations of to Paragraph 109.



  EON’S ANSWER TO ALCATEL-LUCENT’S COUNTERCLAIMS TO FOURTH AMENDED COMPLAINT
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                                   ALCATEL’S FIRST COUNT
                                      (Non-Infringement)

         4.      EON admits to Paragraph 110.

         5.      EON denies the allegations of Paragraph 111.

         6.      EON denies Alcatel is entitled to the relief it seeks in Paragraph 112.

                                 ALCATEL’S SECOND COUNT
                                        (Invalidity)

         7.      EON admits to Paragraph 113.

         8.      EON denies the allegations of Paragraph 114.

         9.      EON denies Alcatel is entitled to the relief it seeks in Paragraph 115.

                                      PRAYER FOR RELIEF

         Paragraphs A through D set forth the statement of relief requested by Alcatel, to which no

  response is required. To the extent any response is required, EON denies that Alcatel is entitled

  to any of the requested relief and denies any allegations contained therein as they relate to EON.

  To the extent Paragraphs A through D contain factual allegations, EON denies them to the extent

  they relate to EON.

  Dated: September 1, 2011.                            Respectfully submitted,

                                                       /s/ Craig S. Jepson ___________
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                                                       ATTORNEYS FOR PLAINTIFF
                                                       EON CORP. IP HOLDINGS, LLC



                                  CERTIFICATE OF SERVICE

         I hereby certify that on September 1, 2011, I electronically submitted the foregoing

  document with the clerk of court for the U.S. District Court, Eastern District of Texas, using the

  electronic case files system of the court. The electronic case files system sent a “Notice of

  Electronic Filing” to individuals who have consented in writing to accept this Notice as service

  of this document by electronic means, all other counsel of record not deemed to have consented

  to electronic service were served with a true and correct copy of the foregoing by first class mail

  today, September 1, 2011.

                                                       /s/ Craig S. Jepson    ___________
                                                       Craig S. Jepson




  EON’S ANSWER TO ALCATEL-LUCENT’S COUNTERCLAIMS TO FOURTH AMENDED COMPLAINT                       3
